Case 1:15-cr-00825-ALC Document 64 Filed 02/14/19 Page 1of1
U.S. Department of Justice

United States Attorney
Southern District of New York

The Silvio J. Mollo Building
One Saint Andrew’s Plaza
New York, New York 10007

February 8, 2019

BY ECF
USDC SDNY
The Honorable Andrew L. Carter, Jr. DOCUMENT ELECTRONICALLY
United States District Judge FILED
Southern District of New York DOC#:

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40 Foley Square DATE FILED: Q = bf ef@
New York, New York 10007

Re: United States v. Elliot Halberstam, 15 Cr. 825 (ALC)

Dear Judge Carter:

The Government writes to request that the sentencing hearing in the above-captioned case
be briefly adjourned in order to accommodate the victim’s and his family’s schedule. As the Court
is aware, they have arranged their schedules around each of the previously scheduled sentencing
dates, but they are unable to attend the rescheduled date of February 26, 2019. Accordingly, the
Government requests that sentencing be adjourned to February 28, 2019, to allow the victim and
his family to attend. The Government understands that this is a convenient date for both the Court
and defense counsel.

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vr PEEr vac “4 ZONA ow VL: GOP: mn: United States Attorney

Pew vib Fp

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